Case 6:06-md-01769-ACC-DAB Document 1347 Filed 03/11/09 Page 1 of 4 PageID 40361




                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

     IN RE: SEROQUEL PRODUCTS
     LIABILITY LITIGATION
     This document relates to:
     Linda Guinn, No. 6:07-CV-10291
     Janice Burns, No. 6:07-CV-15959                           MDL DOCKET NO:
     Richard Unger, No. 6:07-CV-15812                       6:06-MDL-1769-ACC-DAB
     Connie Curley, No. 6:07-CV-15701
     Linda Whittington, No. 6:07-CV-10475
     Eileen McAlexander, No. 6:07-CV-10360
     David Haller, No. 6:07-CV-15733

     PLAINTIFFS’ SECOND SUPPLEMENTAL NOTICE OF UNSEALING AND FILING
      NON-CONFIDENTIAL EXHIBITS TO THEIR RESPONSES IN OPPOSITION TO
       ASTRAZENECA’S CASE-SPECIFIC MOTIONS FOR SUMMARY JUDGMENT

            Pursuant to the Court’s instructions of February 26, 2009, the above-listed Plaintiffs

     submit their Second Supplemental Notice of Unsealing and Filing Non-Confidential Exhibits

     to Their Responses in Opposition to AstraZeneca’s Case-Specific Motions for Summary

     Judgment filed by Defendants AstraZeneca Pharmaceuticals, LP and AstraZeneca, LP on or

     about November 3, 2008, attaching the Exhibits listed below.




                                                  1
Case 6:06-md-01769-ACC-DAB Document 1347 Filed 03/11/09 Page 2 of 4 PageID 40362




                         Exhibits to Plaintiffs’ Responses in Opposition
                to AstraZeneca’s Case-Specific Motions for Summary Judgment

     Linda Guinn, No. 6:07-CV-10291

          Exhibit No.                                  Description

               1            Guido Nodal, M.D. deposition transcript excerpts



     Janice Burns, No. 6:07-CV-15959

          Exhibit No.                                  Description

               1            John R. Billingsley, M.D. deposition transcript excerpts (3/26/08)

              10            John R. Billingsley deposition transcript excerpts (7/28/08)

              17            John Reilly deposition transcript excerpts



     Connie Curley, No. 6:07-CV-15701

          Exhibit No.                                  Description

               1            Maria C. Wilson, M.D. deposition transcript excerpts

              12            Anna Golden deposition transcript excerpts



     Eileen McAlexander, No. 6:07-CV-10360

          Exhibit No.                                  Description

               1            Manouchehr Lavian, M.D. deposition transcript excerpts




                                                2
Case 6:06-md-01769-ACC-DAB Document 1347 Filed 03/11/09 Page 3 of 4 PageID 40363




     Linda Whittington, No. 6:07-CV-10475

          Exhibit No.                                 Description

               1            Mohamed O. Saleh, M.D. deposition transcript excerpts (3/4/08)




                                               3
Case 6:06-md-01769-ACC-DAB Document 1347 Filed 03/11/09 Page 4 of 4 PageID 40364




     DATED: March 11, 2009                            Respectfully submitted,


                                               By:    /s/ Robert W. Cowan
                                                      F. Kenneth Bailey Jr.
                                                      K. Camp Bailey
                                                      Fletcher V. Trammell
                                                      Robert W. Cowan
                                                      BAILEY PERRIN BAILEY
                                                      440 Louisiana St., Suite 2100
                                                      Houston, Texas 77002
                                                      (713) 425-7100 Telephone
                                                      (713) 425-7101 Facsimile
                                                      kbailey@bpblaw.com
                                                      cbailey@bpblaw.com
                                                      ftrammell@bpblaw.com
                                                      rcowan@bpblaw.com
                                                      Co-Lead Counsel for Plaintiffs




                                 CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on this 11th day of March, 2009, I electronically filed the
     foregoing: PLAINTIFFS’ SECOND SUPPLEMENTAL NOTICE OF UNSEALING AND
     FILING NON-CONFIDENTIAL EXHIBITS TO THEIR THEIR RESPONSES IN
     OPPOSITION TO ASTRAZENECA’S CASE-SPECIFIC MOTIONS FOR SUMMARY
     JUDGMENT with the Clerk of the Court by using the CM/ECF system which will send a
     Notice of Electronic Filing to all counsel of record that are registered with the Court’s
     CM/ECF system.



                                                      /s/ Robert W. Cowan
                                                      Robert W. Cowan




                                                4
